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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 CRYSTALLEX INTERNATIONAL CORP.,                      )
                                                      )
  Plaintiff,                                          )
                                                      )
         v.                                           ) Misc. No. 17-151-LPS
                                                      )
 BOLIVARIAN REPUBLIC OF VENEZUELA,                    )
                                                      )
  Defendant.                                          )


   THE SPECIAL MASTER’S LIMITED JOINDER IN SUPPORT OF CRYSTALLEX
             INTERNATIONAL CORPORATION’S MOTION FOR
         RECONSIDERATION OF THIS COURT’S JULY 17, 2023 ORDER

       Robert B. Pincus (the “Special Master”) hereby submits this limited joinder in support of

Crystallex International Corporation’s motion for reconsideration of this Court’s July 17, 2023

Order (“the Crystallex Motion”). The Special Master respectfully states as follows:

       1.      In its Order, dated July 17, 2023 (the “Order”), the Court provided Petróleos de

Venezuela, S.A. (“PDVSA”) with two options if PDSVA determined that the share certificates

were lost, stolen, or destroyed within the meaning of Delaware law: (i) request that this Court order

PDV Holdings, Inc. (“PDVH”) to immediately reissue a replacement share certificate; or (ii) “file

an action in the Delaware Court of Chancery seeking an expedited order that PDVH immediately

reissue a replacement share certificate.” Order, Dkt. No. 643 at 2.

       2.      The Court made clear that, in providing PDVSA with an opportunity to first decide

how to proceed, it did not anticipate or intend the Order to have a material impact on the launch

or progress of the sales process. See Order, Dkt. No. 644 at 2-3. It further provided that if the

Special Master believes that PDVSA’s actions are “unsatisfactory” in that regard, the Special

Master may move this Court for reconsideration of the Order.



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       3.        PDVSA elected to initiate an action in the Delaware Court of Chancery (the

“Chancery Action”). In its opening brief filed in the Chancery Action on August 25, 2023, PDVH

argued that, while it did not object to the reissuance of the shares, PDVH was entitled to a bond

up to $40 billion to protect it against the possibility of a claim made by a good-faith purchaser in

possession of the original share certificate.

       4.        In the view of the Special Master, the Chancery Action—and the bond requested

by PDVH therein—could have a material and adverse impact on the sales process. It will likely

delay the sales process because the propriety of a bond—and the appropriate amount of such

bond—may require intervention by other interested parties and result in further protracted

litigation. Moreover, because PDVSA owns 100% of PDVH, the risk that any more than a de

minimis amount is ordered in the Chancery Action could compromise the Special Master’s ability

to maximize value through the sale process.

       5.        Accordingly, the Special Master joins in the request for relief in the Crystallex

Motion and respectfully requests that the Court order PDVH to reissue the share certificate without

further delay.




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